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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


MERVAT MIKHAEIL,                         U.S. District Case No.
                                         2:13-CV-14107

             Plaintiff,                  Honorable Nancy G. Edmunds
                                         Magistrate Judge David R. Grand

v

WALGREEN’S INC.,

          Defendant.
_________________________________________________________________/

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Attorney for Plaintiff                 Attorneys for Defendant


_________________________________________________________________/

    DEFENDANT’S CORRECTION TO MOTION FOR PROTECTIVE
                  ORDER, DOCKET NO. 19
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      Defendant Walgreen Company 1 (“Walgreen”), through its attorneys,

provides the following correction to its motion for a protective order filed on

Wednesday, September 24, 2014:

      1.       In its September 24, 2014 motion for a protective order, Walgreen

stated that its Corporate Manager Susan Dobrowolski was resident in Illinois.

(Dkt. 19 at 1, 4-5.)        This representation was based on Walgreen’s initial

disclosures, which provided that Ms. Dobrowolski’s business address is in

Deerfield, Illinois.

      2.       Today, September 29, 2014, counsel was made aware that while the

representation is accurate insofar as Ms. Dobrowolski’s primary work location is in

Deerfield, Illinois it requires supplementation as she has a secondary business

office in Southfield, Michigan, and a personal residence in Michigan. While the

location of Ms. Dobrowolski’s secondary office and personal residence should

have no effect on the Court’s order—that three business days’ notice for five

depositions is unreasonable (Dkt. No. 21 at 3)—Walgreen supplements its motion

out of an abundance of caution, and in the interests of complete disclosure.




      1
          Incorrectly identified in Plaintiff’s Complaint as “Walgreen’s Inc.”

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                                   KIENBAUM OPPERWALL HARDY
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                                   By:/s/Thomas J. Davis
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Dated: September 29, 2014




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                       CERTIFICATE OF SERVICE

      I hereby certify that on September 29, 2014, I electronically filed the
foregoing document with the Clerk of the Court using the ECF system which will
send notification of such filing to the following: marla@atniplawyers.com. I
hereby certify that I have caused to be served via U.S. mail the foregoing
document to the following non-ECF participants:

     (no manual recipients)

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